Case 3:21-cv-00258-GPC-JLB Document 1 Filed 02/11/21 PageID.1 Page 1 of 12




                                                  '21CV0258 GPC JLB
Case 3:21-cv-00258-GPC-JLB Document 1 Filed 02/11/21 PageID.2 Page 2 of 12
Case 3:21-cv-00258-GPC-JLB Document 1 Filed 02/11/21 PageID.3 Page 3 of 12
Case 3:21-cv-00258-GPC-JLB Document 1 Filed 02/11/21 PageID.4 Page 4 of 12
Case 3:21-cv-00258-GPC-JLB Document 1 Filed 02/11/21 PageID.5 Page 5 of 12
Case 3:21-cv-00258-GPC-JLB Document 1 Filed 02/11/21 PageID.6 Page 6 of 12
Case 3:21-cv-00258-GPC-JLB Document 1 Filed 02/11/21 PageID.7 Page 7 of 12
Case 3:21-cv-00258-GPC-JLB Document 1 Filed 02/11/21 PageID.8 Page 8 of 12
Case 3:21-cv-00258-GPC-JLB Document 1 Filed 02/11/21 PageID.9 Page 9 of 12
Case 3:21-cv-00258-GPC-JLB Document 1 Filed 02/11/21 PageID.10 Page 10 of 12
Case 3:21-cv-00258-GPC-JLB Document 1 Filed 02/11/21 PageID.11 Page 11 of 12
Case 3:21-cv-00258-GPC-JLB Document 1 Filed 02/11/21 PageID.12 Page 12 of 12
